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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                        FORT PIERCE DIVISION

                                             CASE NO.: 2:22cv14074


 JACKIE BURGESS,

          Plaintiff,
 vs.

 SAM’S EAST, INC. D/B/A SAM’S CLUB, a
 Foreign profit Corporation, and KAREN
 L’HEREUX, as Manager

       Defendants.
 ______________________________________/

                   DEFENDANT SAM’S EAST, INC’S NOTICE OF REMOVAL

          Defendant, SAM’S EAST, INC. D/B/A D/B/A SAM’S CLUB (“Sam’s East”), by and

 through undersigned counsel hereby files with this Court, pursuant to 28 U.S.C §1441 and §1446,

 a Notice of Removal to the Court of a civil action filed in the Circuit Court of the Nineteenth

 Judicial Circuit in and for St. Lucie County, Florida as Case No: 2022CA000099AXXX in which

 Sam’s East has been named as a Defendant 1.

          1.       Plaintiff, JACKIE BURGESS, has filed an action in the Circuit Court in the

 Nineteenth Judicial Circuit in and for St. Lucie County, Florida naming Sam’s East, Inc. D/B/A

 Sam’s Club and Karen L’Hereux as a Defendants.



 1
  As set forth in Paragraph No. 1, infra, in the State court action which is the subject of this Notice Plaintiff named as
 defendants Sam’s East as well as Karen L’Heureux, a former manager of Sam’s East. Undersigned counsel has filed
 a Notice of Appearance in the State court action on behalf of both Sam’s East and Ms. L’Heureux, and represents
 both of them as to the subject claim. Based on the position set forth in this Notice of Removal–that Ms. L’Heureux
 has absolutely no connection to the subject alleged incident and was fraudulently joined to attempt to defeat
 diversity and prevent removal–undersigned counsel is filing this Notice of Removal on behalf of the only properly
 named defendant to the action, Sam’s East. Removal of the entire action is sought. Thus, should the action be
 removed based upon the fraudulent joinder, it is undersigned counsel’s understanding that Sam’s East would by
 operation of said finding be the only remaining defendant in the action as removed, and that there would be nothing
 to be “done” with respect to Ms. L’Heureux. However, to the extent necessary, i.e. should that understanding of
 the procedural aspect not be shared by the Court, undersigned counsel would request that the Court consider this
 Notice of Removal to also constitute a motion to dismiss for fraudulent joinder of the claims against Ms. L’Heureux.
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            2.      A copy of Plaintiff’s Complaint, which was served on Sam’s East on January 24,

 2022, is attached hereto as Exhibit “A”. The Complaint consists of two counts setting forth

 identical negligence allegations, one against Sam’s East, Inc. D/B/A Sam’s Club and one against

 Karen L’Heureux 2, which purportedly caused him to suffer personal injuries.

            3.      Pursuant to 28 U.S.C §1446, a complete copy of the state court file in Case No:

 2022CA000099AXXX filed in the Circuit Court of the Nineteenth Judicial Circuit in and for St.

 Lucie County, Florida is attached hereto as Composite Exhibit “B”.

            4.      Plaintiff, Jackie Burgess is now and at all times material has been a citizen of the

 State of Florida.

            5.      Defendant, Sam’s East is now, and was at the time of the filing of the subject

 Complaint, a citizen of the State of Arkansas, as it is incorporated in the State of Arkansas and has

 its principal place of business in the State of Arkansas. Sam’s East is therefore not a citizen of the

 State of Florida.

            6.      Defendant, Karen L’Heureux, is and was at the time of the filing of the subject

 Complaint, a citizen of the State of Florida. However, Ms. L’Heureux is fraudulently joined, and

 her citizenship must be disregarded for the purposes of diversity jurisdiction analysis. Her presence

 in this action does not destroy diversity and therefore does not prevent removal. A fraudulent

 joinder “provides an exception to the requirement of complete diversity.” Triggs v. John Crump

 Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998).

            7.      Because the Plaintiff is a citizen of the State of Florida and the properly joined

 Defendant Sam’s East is not, complete diversity exists under 28 U.S.C. § 1332.

            8.      The allegations made in a Notice of Removal “are sufficient to establish diversity

 between the parties, where the Complaint lacks the necessary jurisdictional allegations.”

 Painter v. Cincinnati Ins. Cos., No. 09-61761-CIV-ZLOCH/ROSENBAUM, 2010 U.S. Dist.


 2
     Karen L’Heureux’s name is misspelled in the Complaint/Caption as “L’Hereux”.
                                                          2
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 LEXIS 151890, at *12 (S.D. Fla. Mar. 18, 2010); and Woolard v. Heyer-Schulte, 791 F. Supp. 294

 (S.D. Fla. 1992).

        9.      Further, the amount of damages in controversy in this matter significantly exceeds

 $75,000.

        10.     Therefore, there are sufficient facts to establish the subject matter jurisdiction of

 this Court.

 I.     Defendant Karen L’Heureux was Fraudulently Joined.

        When determining whether diversity jurisdiction exists, the Court must disregard the

 citizenship of a fraudulently jointed party. See, Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353,

 1360 (11th Cir. 1996). A party is deemed to be fraudulently joined where there is “no reasonable

 basis” for a claim against her/him/it. See Crowe v. Coleman, 113 F.3d1536, 1542 (11th Cir. 1997).

 The “no reasonable basis for a claim” standard as applied by the Eleventh Circuit Court of Appeals

 means, “(t)he potential for legal liability ‘must be reasonable, not merely theoretical.’ ” Legg v.

 Wyeth, 428 F.3d 1317, 1325 n.5 (11th Cir. 2005). Here, there is no reasonable potential for legal

 liability as to Ms. L’Heureux; any potential for legal liability against her would be only theoretical.

        Firstly, the allegations of the Complaint themselves demonstrate the lack of any reasonable

 basis under governing law for a claim against Ms. L’Heureux. The listing of allegations in the two

 counts, one against Sam’s East and the other against Ms. L’Heureux, are identical. Count I lists a

 host of boilerplate alleged acts or omissions against Sam’s East, which are repeated verbatim in

 Count II, but with Ms. L’Heureux’s name switched out for Sam’s East. The Complaint is so clearly

 a product of “fill-in-the-blanks” draftsmanship that Paragraph 18 refers to Ms. L’Heureux as an

 “it.” Thus, the Complaint itself states no allegations to form a basis for the kind of personal and

 direct duty, and therefore breach, which is required under governing law. Krobatsch v. Target

 Corp., 20-81552-CIV, 2020 WL 6375175, at *2 (S.D. Fla. 2020) (“to establish liability, the

 complaining party must allege and prove that the officer or agent owed a duty to the complaining

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 party, and that the duty was breached through personal (as opposed to technical or vicarious)

 fault”) (emphasis added) (quoting White v. Wal-Mart Stores, Inc., 918 So. 2d 357, 358 (Fla. 1st

 DCA 2005)). In order for a plaintiff to pursue a tort claim personally against an employee, Florida

 law requires an allegation that a personal duty was breached by that individual. An employee may

 not be held personally liable “simply because of his [or her] general administrative responsibility

 for performance of some function of his [or her] employment”—he or she must be actively

 negligent. McElveen v. Peeler, 544 So. 2d 270, 271-272 (Fla. 1st DCA 1989); see also White v.

 Wal-Mart at 358 (upholding joinder where a Complaint alleged that a manager negligently failed

 to perform certain duties for which he was directly responsible); Krobatsch at *4-5 (upholding

 joinder where the Plaintiff alleged that the joined manager was responsible for keeping the section

 of floor at issue clean). That kind of personal allegation is completely lacking here.

        The case of Siciliano v. Target Corp. is particularly instructive. 2014 WL 12461368 (S.D.

 Fla 2014). There, as here, the Plaintiff alleged general failures to correct dangerous conditions,

 warn of their existence, and train employees in their proper mitigation. There, as here, the Notice

 of Removal included a Declaration from the employee at issue denying personal responsibility for

 the incident. See Declaration of Karen L’Heureux, attached hereto as Exhibit “C”. That

 Declaration makes clear that although Ms. L’Hereux was a Manager at the subject Sam’s Club as

 of the timeframe of the subject incident, she was not in the Club’s vestibule (where the incident

 occurred) at the time the incident occurred. Id. Further, her specific daily tasks and duties did not

 include inspecting or cleaning the vestibule. Id. Ms. L’Heureux had no knowledge of and was not

 involved in any way in the subject incident, and specifically had no knowledge of any allegedly

 hazardous condition which allegedly caused said incident, and did not inspect or clean the subject

 area, i.e. the vestibule, at the subject time. Id. “When a defendant presents an undisputed affidavit,

 the court cannot resolve the facts in the plaintiff’s favor based solely on the undisputed allegations

 in the complaint.” Siciliano at *2. Thus, beyond the fact that Plaintiff did not sufficiently allege

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 any personal responsibility or breach on the part of Ms. L’Heureux, her affidavit proves that she

 did not in fact personally participate in any events giving rise to the accident. The Plaintiff cannot

 point to any evidence showing that she was actively negligent or committed any tort or negligent

 act in her individual capacity. The claim against her fails on this basis. Id; see also Kalit v. Target

 Corp., 2019 WL 423318, at *3 (S.D. Fla. 2019) (denying joinder when the record indicated that

 the joined manager was not responsible for keeping the floors clean).

        The lack of any specific allegations whatsoever as to any personal or direct acts or

 omissions by Ms. L’Heureux, coupled with the undisputed circumstances as demonstrated through

 her Declaration establish that there is no reasonable potential for any legal liability on her part.

 When a defendant puts forth evidence of fraudulent joinder, the burden shifts to the plaintiff to

 present evidence to support a reasonable basis for a claim against the fraudulently joined

 defendant. Legg at 1323-24. For the same reasons as demonstrated above – not only the lack of

 allegations but what the circumstances in fact are – Plaintiff cannot do so. There is no reasonable

 basis for the claim against Ms. L’Heureux, there is no reasonable potential for legal liability on

 her part.   Accordingly, Ms. L’Heureux’s citizenship may be disregarded because she was

 fraudulently joined into this suit. See Stephens v. Petsmart, Inc., 809-CV-815-T-26TBM, 2009

 WL 3674680, at *2 (M.D. Fla. Nov. 3, 2009) (where joinder of a party is deemed fraudulent, it

 will not be permitted to defeat diversity jurisdiction). Accordingly, there is complete diversity of

 citizenship between the (properly named) parties.

 II.    The Amount in Controversy Exceeds $75,000, Exclusive of Interest and Costs.

        Plaintiff’s Complaint alleges that he is seeking in excess of $30,001.00. However, the

 demand package provided by counsel for the Plaintiff to Sam’s East includes medical bills claimed

 as damages in this matter which are in excess of $215,000 (two of the bills are each alone over the

 $75,000 threshold). A compilation of the medical billing provided by Plaintiff’s Counsel along



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 with the demand letter is attached as Composite Exhibit “D”. Accordingly, the amount in

 controversy clearly exceeds $75,000.

 III.       Conclusion

            This Court has original jurisdiction of this matter pursuant to 29 U.S.C §1332, as there is

 complete diversity between the Plaintiff and Defendant and the amount in controversy exceeds

 $75,000. Removal of this matter is therefore proper under 28 U.S.C. §1441. Defendant, Sam’s

 East was served with the Complaint on January 24, 2022. Thus, the Notice of Removal is being

 filed within thirty (30) days of Sam’s East being served with a copy of the Plaintiff’s Complaint

 as required by 28 U.S.C §1446(b) 3. Because there is complete diversity of citizenship and the

 amount of controversy exceeds the jurisdictional amount, this Court has jurisdiction under section

 28 U.S.C. §1332. Pursuant to 28 U.S.C §1446(d), a copy of the Petition and Notice of Removal

 is being properly filed with the Clerk of the Circuit Court for the Nineteenth Judicial Circuit in and

 for St. Lucie County and served on counsel for Plaintiff. This Court has original jurisdiction of

 this matter pursuant to 28 U.S.C §1332, as there is complete diversity between the Plaintiff and

 Defendant and the amount in controversy exceeds $75,000. Removal of this matter is therefore

 proper under 28 U.S.C. §1441. Based on the foregoing, Sam’s East has met its burden in

 establishing that this Court has jurisdiction over this civil action pursuant to 28 U.S.C §1332 and

 28 U.S.C §1441.

            WHEREFORE, the Defendant, Sam’s East, Inc. D/B/A Sam’s Club 4, submits that this

 Notice and Petition for Removal be deemed good and sufficient, and that the aforesaid action be

 removed from the Nineteenth Judicial Circuit in and for St. Lucie County, Florida to the United

 States District Court for the Southern District of Florida for further proceedings.

 Dated: February 23, 2022



 3
     Ms. L’Hereux was served with the Complaint on February 10, 2022.
 4
     See Footnote 1, supra.
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                                            Respectfully submitted,

                                            SIMON, REED & SALAZAR, P.A.


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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

 electronically with the Clerk of Court using CM/ECF on this 23rd day of February 2022.



                                       By: /s/ Gregory A. Reed




                                       SERVICE LIST



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